        Case 2:11-cr-20425-RHC-LJM ECF No. 111, PageID.360 Filed 12/05/12 Page 1 of 1
MIE 1A                           Order of the Court to Continue Supervision
Revised 07/12
                                  UNITED STATES DISTRICT COURT
                                                for the
                                      Eastern District of Michigan


UNITED STATES OF AMERICA

                v.

LIONEL HARRIS                                                        Crim. No.: 11-CR-20425-06

On 09/27/2012 the Court authorized the issuance of a probation summons based upon a violation petition citing
violation(s) of supervision. The issue(s) of the violation were heard in Court on 11/13/2012, and the Court
made the following finding(s):
      Guilty of violating condition(s) of supervision. The following special condition(s) of supervision are
 X    added.


“The offender may make payments of $50.00 per month toward restitution.”
“The offender shall perform physical labor at his mother’s residence when not employed full-time or
conducting employment search, and provide verification to the probation officer.”


                                                               Respectfully submitted,


                                                               s/Jeffry W. Konal
                                                               United States Probation Officer

                                           ORDER OF THE COURT

                Pursuant to the above, it is ordered that the pending violation matter be resolved and
                supervision in this case be continued. All conditions imposed at the time of
                sentencing, along with any subsequent modifications to those conditions, remain in
                effect.

                      Dated this 4th Day of December, 2012.



                                                               s/Robert H. Cleland
                                                               Robert H. Cleland
                                                               United States District Judge
